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   1            56.                                                     ,                      ,
   2
   3                                                                        [TE 323.]
   4   [Disputed on the grounds that the statement refers to all Defendants. Online Guru,
   5   not any of the other Defendants, manages the DMV.ORG website, and thus it was
   6   Online Guru that changed the content of the sponsored listings for DMV.ORG. Raj
   7   Lahoti Trial Decl., ¶ 2. Further, Plaintiffs’ focus on the search engine result listings
   8   separate from the DMV.ORG website improperly dissects the website, rather than
   9   considering it in its entirety. Avis Rent A Car System, Inc. v. Hertz Corp., 782 F.2d
  10   381, 385 (2d Cir. 1986) (courts must "consider the advertisement in its entirety and
  11   not … engage in disputatious dissection"); and FTC v. Sterling Drug, Inc., 317 F.2d
  12   669, 674 (2d Cir. 1963) (view the "entire mosaic" not "each tile separately").]
  13            57.
  14
  15
  16                         [TE 324.]
  17            58.
  18
  19
  20                      [TE 324.]
  21   [Disputed on the grounds that the statement refers to all Defendants. Online Guru,
  22   not any of the other Defendants, manages the DMV.ORG website, and thus it was
  23   Online Guru that changed the content of the sponsored listings for DMV.ORG. Raj
  24   Lahoti Trial Decl., ¶ 2. Further, Plaintiffs’ focus on the search engine result listings
  25   separate from the DMV.ORG website improperly dissects the website, rather than
  26   considering it in its entirety. Avis Rent A Car System, Inc. v. Hertz Corp., 782 F.2d
  27   381, 385 (2d Cir. 1986) (courts must "consider the advertisement in its entirety and
  28   not … engage in disputatious dissection"); and FTC v. Sterling Drug, Inc., 317 F.2d
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   1   669, 674 (2d Cir. 1963) (view the "entire mosaic" not "each tile separately").]
   2            59.
   3
   4                                                                                   [TE
   5   325-330; 367; 372; 379-381.]
   6   [This finding is irrelevant, as it improperly dissects the DMV.ORG website rather
   7   than considering it in its entirety. Moreover, the FTC’s resolution of the false
   8   advertising claims against FreeCreditReport.com, requiring no changes made to
   9   search engine result listings, demonstrates that search engine result listings are not
  10   considered independently material by the FTC. Defendants’ RJN No. 3.]
  11            60.
  12

  13                      [TE 372.]
  14            61.
  15
  16
  17
  18                                                                         . [TT 11/6,
  19   p.126:8-127:11.]
  20   [Disputed on the grounds that the statement assumes that the sponsored listings for
  21   DMV.ORG are confusing. Additionally, as of November 2007, Online Guru had
  22   made an effort to include the “unofficial” language in all of its traffic school and
  23   drivers education sponsored listings and was unaware of any sponsored listings not
  24   containing the unofficial language. 11/6 TT 127:8-128:11.]
  25            F.        Defendants' False and Misleading DMV.ORG Website (¶¶62-74)
  26            62.
  27

  28
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   1   [TE 317.]
   2   [Disputed that the language underneath heading: “No need to stand IN LINE . . .” is
   3   in fine print. The text below the heading is the same font size as the other
   4   informational text on the website. TE 317.]
   5            63.
   6                                                             [TE 391.]
   7   [DMV.ORG has used the phrase “No need to stand in line, your DMV guide is no
   8   online” (or similar) since 2004. TE 625.]
   9            64.
  10
  11                                                     [TE 301.]
  12   [Disputed on the grounds that the statement is vague as to time. The license plate
  13   logos no longer appear in this format; rather, the license plate logos contain no
  14   reference to any state and include the phrase “Unofficial Guide to the DMV.” TE
  15   631.]
  16            65.
  17
  18                                                       . [TE 317.]
  19            66.
  20
  21
  22                                                                                        [TE
  23   318.]
  24            67.
  25
  26
  27                                                      [TE 319.]
  28            68.
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   1

   2
   3
   4
   5                 [TE 320.]
   6   [Disputed on the grounds that the drivers license appeared in the third party
   7   advertisement itself.]
   8            69.
   9
  10
  11                                                               [TD Eric Creditor, ¶¶4,
  12   7,9.]
  13   [Disputed on the grounds that the evidence cited does not support the proposed
  14   finding.]
  15            70.
  16                                                      [TE 331 (showing addition of
  17   language in top left corner, but continued use of state flags-print-out from January
  18   31, 2007); TE 332(showing addition of “Unofficial Online Guide” text but not on the
  19   California Driver Education or Traffic Schools pages and not in the DMV.ORG
  20   license plate logo at that time-print-out from May 10, 2007); TT 11/7, pp. 159:23-
  21   160:24; 172:22-174:4.] .
  22                                                                                     [TT
  23   11/7, pp. 173:25-174:4.]
  24
  25   [Disputed on the grounds that (i) every page of the DMV.ORG website contains
  26   several prominent disclaimers - twice at the top left of each webpage as well as once
  27   at the bottom of each webpage; and (ii) there is no reliable evidence (cited or
  28   otherwise) supporting a finding that any substantial segment of the public is
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   1   confused by the DMV.ORG website. To the contrary, the Hollander controlled
   2   survey results and the steady traffic on DMV.ORG even after the addition of further
   3   disclaimers on the website, show that no substantial segment of the public is
   4   confused by DMV.ORG. TEs 172-173, 631, 666, 676; 11/7 TT 170:23-171:15.]
   5            71.
   6
   7                      ( TT 11/7, pp. 174:21-175:25).
   8   [Disputed to the extent that the statement implies that there is any significant level of
   9   confusion created by the DMV.ORG website, for which plaintiffs have offered no
  10   evidence. Moreover, each page of the website already contains several prominent
  11   disclaimers, including two at the top left of each webpage as well as one at the
  12   bottom of each webpage. TE 631.]
  13            72.
  14                                                         [TT 11/7. pp. 170:23-171:15.]
  15
  16
  17
  18   [Disputed on the grounds that the finding is vague as to “this text” and not
  19   supported by evidence.]
  20            73.
  21
  22                                                                    [TD Dr. Thomas
  23   Maronick, TE 350 (Study 3); TE 389 (Rebuttal Statement of Dr. Maronick).]
  24   [Disputed on the grounds that the Maronick surveys are unreliable because of the
  25   numerous survey errors including the failure to use a control, the failure to instruct
  26   respondents not to guess, the failure to mimic a visitor’s actual experience through
  27   the use of improper stimuli and dissection of DMV.ORG into component parts, the
  28   use of leading questions, and the combination of key questions on the same page.
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   1   TE 142 (Simonson Decl., ¶¶ 23, 37-38, 41-51, 53-55, 57); Designated Maronick
   2   Depo., 13:4-14:4, 34:5-35:5, 39:5-11, 40:5-23, 44:2-18, 45:17-46:22, 54:7-10,
   3   72:15-73:13, 95:25-96:1, 96:20-97:12, 97:17-21, 100:2-7, 172:4-173:11; TE 144
   4   (Surveys 2-3, questions 6-7 and 8-9).] Hollander’s results show that when these
   5   errors are corrected, there is no statistically significant confusion. TEs 172-173. ]
   6            74.
   7
   8   [Disputed on the grounds that: (i) Plaintiffs have failed to produce evidence
   9   demonstrating any appreciable amount of confusion in light of the million visits the
  10   website receives each week; (ii) controlled survey results shows no confusion
  11   attributable to the domain name; and (iii) there is no evidence that the alleged
  12   perceived affiliation/sponsorship/approval by a government agency is material to the
  13   purchasing decision (in fact, the evidence indicates that other factors - masking
  14   points, price, convenience - are the important factors to consumers). 11/6 TT
  15   160:19-161:23; 11/7 TT 41:19-42:13; TE 67, 172-173, 674; Moretti Trial Decl., ¶
  16   4.]
  17            G.        Other Advertising for the DMV.ORG Website (¶¶75-77)
  18            75.
  19
  20                           [TE 321]
  21   [Disputed on the grounds that (i) the statement mischaracterizes the DMV.ORG
  22   advertisement; and (ii) there is no evidence that Defendants provided or knew of the
  23   language used on AffiliatePrograms.com. Further, the advertisement includes the
  24   .ORG domain, suggesting that the website is not a governmental entity, describes the
  25   website as a nationwide guide, and refers advertisers to the DMV.ORG website,
  26   where it is apparent from the numerous disclaimers that DMV.ORG is not affiliated
  27   with any government agency. TE 321.]
  28            76.
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   1

   2
   3                                                                              [Depo.
   4   Steve Moretti, pp. 268:6-272:7.]
   5   [Disputed on the grounds that the cited testimony does not support the statement.
   6   Online Guru has never intended to mislead the public, as demonstrated by the facts
   7   that DMV.ORG has disclaimed any affiliation with any government agency on every
   8   page of the website since 2002, includes language clarifying the absence of any
   9   affiliation (i.e., “Since government sites can sometimes be confusing to use, we have
  10   made this guide for the average user to understand”), and has added further
  11   disclaimers since inception of this lawsuit. Raj Lahoti Trial Decl., ¶¶ 24-27, 29-34.]
  12            77.
  13
  14                              [TE 114.]
  15                                      . [TT 11/6, pp. 51:22-52:16.]
  16
  17                                                     [TT 11/6, p.53:12-14).
  18
  19
  20
  21
  22                                                                                  [TT
  23   11/6, pp. 52:8-9; 53:4-16).
  24
  25   [Disputed on the grounds that the UnitedStates.org website is not relevant to this
  26   case. Further, no evidence supports the finding that UnitedStates.org is misleading,
  27   nor is there any evidence that the use of UnitedStates.org to direct consumer traffic
  28   to DMV.ORG is deceptive and/or intentionally designed to deceive consumers.]
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   1            H.        Evidence of Actual and Likelihood of Confusion and Intent to
   2                      Deceive (¶¶78-94)
   3            78.
   4
   5                                      [TD Shannon Robertson, ¶¶5-6; TD Lisa Warren, ¶8;
   6   TE 4; 102; 116; 334; 335; 395; 408. .]
   7   [Disputed that a handful of examples of alleged confusion are probative in light of
   8   the million visits that the website receives on a weekly basis. Moretti Trial Decl., ¶
   9   4; TE 674; William H. Morris Co. v. Group W, 66 F.3d 255 (9th Cir. 1995) (3% not
  10   significant); and Johnson & Johnson-Merck Consumer Pharmaceuticals Co. v.
  11   Rhone-Poulenc Rorer Pharmaceuticals, 19 F.3d 125 (3rd Cir. 1994) (7.5% not
  12   significant, noting that 20% might be sufficient). This evidence is insufficient, in
  13   context, to meet Plaintiffs’ burden of proof.]
  14            79.
  15
  16   [TD Dr. Thomas Maronick, TE 350 (pg. 8, Study 3).]
  17   [Disputed on the grounds that the Maronick surveys are unreliable because of the
  18   numerous survey errors including the failure to use a control, the failure to instruct
  19   respondents not to guess, the failure to mimic a visitor’s actual experience through
  20   the use of improper stimuli and dissection of DMV.ORG into component parts, the
  21   use of leading questions, and the combination of key questions on the same page.
  22   TE 142 (Simonson Decl., ¶¶ 23, 37-38, 41-51, 53-55, 57); Designated Maronick
  23   Depo., 13:4-14:4, 34:5-35:5, 39:5-11, 40:5-23, 44:2-18, 45:17-46:22, 54:7-10,
  24   72:15-73:13, 95:25-96:1, 96:20-97:12, 97:17-21, 100:2-7, 172:4-173:11; TE 144
  25   (Surveys 2-3, questions 6-7 and 8-9). Hollander’s results show that when these
  26   errors are corrected, there is no statistically significant confusion. TEs 172-173. ]
  27            80.
  28                                  [TE 4; 102; 116; 334; 335; 395; 408.]
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   1   [Disputed on the grounds that (i) emails allegedly showing anger with DMV.ORG do
   2   not show confusion and (ii) a handful of examples of alleged confusion are not
   3   probative in light of the million visits that the website receives on a weekly basis.
   4   Moretti Trial Decl., ¶ 4; TE 674; William H. Morris Co. v. Group W, 66 F.3d 255
   5   (9th Cir. 1995) (3% not significant); and Johnson & Johnson-Merck Consumer
   6   Pharmaceuticals Co. v. Rhone-Poulenc Rorer Pharmaceuticals, 19 F.3d 125 (3rd
   7   Cir. 1994) (7.5% not significant, noting that 20% might be sufficient). If these few
   8   instances suffice to establish actionable false advertising claims, then entities such
   9   as Bank of America and US Bank could be liable for similar “false advertising” as
  10   well.]
  11            81.
  12                      a.
  13                                        [TE 334.]
  14                      b.
  15
  16                                                                  [TE 334.]
  17                      c.
  18
  19
  20                           [TE 334.]
  21                      d.
  22
  23                                                                                            .
  24   [TE 334.]
  25                      e.
  26                                  [TE 334.]
  27   [Disputed that a handful of examples are probative in light of the million visits that
  28   the website receives on a weekly basis. Moretti Trial Decl., ¶ 4; TE 674; William H.
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   1   Morris Co. v. Group W, 66 F.3d 255 (9th Cir. 1995) (3% not significant); and
   2   Johnson & Johnson-Merck Consumer Pharmaceuticals Co. v. Rhone-Poulenc Rorer
   3   Pharmaceuticals, 19 F.3d 125 (3rd Cir. 1994) (7.5% not significant, noting that 20%
   4   might be sufficient). Moreover, some of these examples are irrelevant, as three out
   5   of the five are clearly not confused as to the nature of DMV.ORG. See Marshall
   6   Field & Co. v. Mrs. Field's Cookies, 25 U.S.P.Q.2d 1321, 1334 (TTAB 1992)
   7   (inquiries from persons obviously aware of the absence of affiliation not evidence of
   8   actual confusion).]
   9            82.
  10
  11
  12

  13
  14                                                                                [TE 4
  15   (DEF-00344); Depo. Steve Moretti, pp. 193:17 to 199:19]
  16   [Disputed on the grounds that the cited email does not evidence confusion, includes
  17   improper opinion testimony, and constitutes hearsay to the extent that it is offered to
  18   prove the statements therein (i.e., DMV.ORG poses a public safety issue). Further,
  19   no state has taken legal action against Defendants, no state has joined Plaintiffs
  20   lawsuit (despite Plaintiffs’ letters to the states encouraging participation), the State
  21   of Georgia found nothing confusing on DMV.ORG, and the State of Pennsylvania
  22   has entered a linking agreement with DMV.ORG. 11/7 TT 88:25-89:6; Designated
  23   Creditor Depo., 287:3-288:6; Moretti Trial Decl., ¶ 27; TEs 58, 659.]
  24            83.
  25
  26
  27                      [11/7 TT, p. 208:20-25.]
  28
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   1   [Depo. Flack, pp. 54:9-55:14).
   2
   3
   4                              [Depo. Flack, pp. 58:8-60:20.]
   5

   6
   7                      [Id.]
   8
   9
  10
  11
  12                                    [Depo. Flack, pp. 61:9-63:11.]
  13   [Disputed on the grounds that (i) there is no evidence that DMV.ORG poses a
  14   danger to the public health or safety; (ii) Mr. Flack did not testify that there was a
  15   “significant problem” with regard to receipt by DMV.ORG of sensitive personal
  16   information; (iii) the few instances of daily confusion acknowledged by Flack are
  17   insignificant in light of the million visits to DMV.ORG per week; and (iv) Defendants
  18   had no intent to mislead consumers, as demonstrated by the facts the website has
  19   had disclaimers since 2002, has included other clarifying language, and the
  20   voluntary addition of further disclaimers since inception of the lawsuit. TEs 666,
  21   674, 676; 11/7 TT 170:23-171:15.; Moretti Trial Decl., ¶ 4; Raj Lahoti Trial Decl.,
  22   ¶¶ 24-27, 29-34.]
  23            84.
  24                                                               [TE 388; 395.]
  25   [Disputed to the extent that the statement implies that the cited emails represent any
  26   significant portion of the visitors to DMV.ORG. Moretti Trial Decl., ¶ 4, TE 674.
  27   Moreover, Plaintiffs’ witness, Lisa Warren, testified that the amended version of the
  28   DMV.ORG license plate logo, which had previously contributed to her confusion, is
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   1   not confusing. 11/7 TT 136:24-137:30; Warren Trial Decl., ¶ 8.]
   2            85.
   3
   4                           [TD Shannon Robertson; TD Lisa Warren; Depo. Steve
   5   Moretti, pp. 196:22-197; 233:3 to 236:25; TE 10, 16, 128-130, 341, 404-407.]
   6   [Disputed to the extent that (i) the referenced “third parties” are not consumers
   7   seeking traffic school or drivers education related services and therefore are
   8   irrelevant; and (ii) the statement implies that the cited alleged confusion represents
   9   any significant portion of the references to DMV.ORG. DMV.ORG is referenced by
  10   approximately 70,000 websites/internet articles. Moretti Trial Decl., ¶ 4, TE 674;
  11   11/6 TT 114:3-12. Plaintiffs have failed to show anything approaching the 20%
  12   confusion that courts have suggested is required. Johnson & Johnson-Merck
  13   Consumer Pharmaceuticals Co. v. Rhone-Poulenc Rorer Pharmaceuticals, 19 F.3d
  14   125 (3rd Cir. 1994) (7.5% not significant, noting that 20% might be sufficient).]
  15            86.
  16                                                                            [TE 410-411.]
  17   [Disputed to the extent that (i) the referenced journalists are not consumers seeking
  18   traffic school or drivers education related services and therefore are irrelevant; and
  19   (ii) the statement implies that the cited articles represent any significant portion of
  20   references to DMV.ORG. There are approximately 70,000 websites or internet
  21   articles that link to DMV.ORG. 11/6 TT 114:3-12.]
  22            87.
  23
  24
  25
  26
  27

  28
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   1

   2                               [TT 11/7, pp. 165:13-166:7; TD Shannon Robertson, ¶7
   3   (was confused but did not email DMV.ORG).]
   4   [Disputed on the grounds that (i) this and other findings invert the burden of proof
   5   which rests on Plaintiffs; and (ii) the proposed finding is not supported by any
   6   evidence suggesting confusion among visitors to DMV.ORG is rampant, and,
   7   assuming the email population is representative of the entire site (which is supported
   8   by common sense), then the rate of confusion (less then 1/10 of a percent) is
   9   insignificant. Furthermore, the Hollander surveys show that consumers are not
  10   confused by DMV.ORG. TE 172-173.]
  11            88.
  12

  13
  14
  15
  16
  17
  18
  19                                                             [TT 11/7, pp. 162:10-164:9;
  20   p. 165:2-6; pp. 164:13-166:7; pp. 155:2-158:25); TD Lisa Warren, ¶8 (confused in
  21   July of 2007, after changes were made).]
  22   [Disputed on the grounds that Plaintiffs, who must carry the burden of proof, have
  23   offered no evidence of any significant level of confusion on DMV.ORG, nor is there
  24   any evidence that Defendants intend to mislead consumers, rather it is to the
  25   contrary. Further, Plaintiffs’ witness, Lisa Warren, testified that the amended
  26   version of the DMV.ORG license plate logo, prominently appearing in the upper left
  27   corner of each page of the website, is not confusing. 11/7 TT 136:24-137:20. Raj
  28   Lahoti Trial Decl., ¶¶ 24-27, 29-34. ]
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   1            89.
   2
   3
   4                                                                               [TT 11/6,
   5   pp. 53:14- 57:8; 88:22-89:6; p. 99:10; TT 11/7, pp. 162:6-163:8; Depo. Flack., pp.
   6   61:9 to 63:11; 54:9 to 58:2 (i.e., 57-58:1); Depo. Steve Moretti, pp. 201:19 to
   7   202:23.; Depo. Flack., pp. 54:9 to 58:2 (i.e., 57-58:1);61:9 to 63:11; Depo. Steve
   8   Moretti, pp. 163:15 to 174:5 (i.e., 164:15 to 165:13).]
   9   [Disputed on the grounds that (i) the statement mischaracterizes the testimony; (ii)
  10   the “daily” confusion cited is insignificant in that it occurs only a few times per day
  11   whereas the site receives a million visits per week; and (iii) the testimony relating to
  12   the ineffectiveness of disclaimers is only as to consumers who are careless (not the
  13   vast majority) in that they fail to read any information on the site. Moretti Trial
  14   Decl., ¶ 4; TE 674; Flack Depo., 57:12-58:1.]
  15            90.
  16
  17
  18                         [TEs 136, 342-345, 362).]
  19
  20                                                     [TE 385 and TT 11/6 , pp. 82:8-
  21   83:20.]
  22                                                                            . [e.g., TE
  23   318.]
  24   [Disputed on the grounds that the volume of the alleged confusion generated by
  25   DMV.ORG was de minimus in light of the high traffic on the website, that the state of
  26   California has seen no need to take any action beyond the three letters it wrote in
  27   2004 as evidenced by the fact they have not joined Plaintiffs’ case, and that Plaintiffs
  28   admitted that the website was not actionable until late 2006. Moretti Trial Decl., ¶
       4851-6320-8706.1                           -30-
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   1   4; TE 674, 11/7 TT 88:25-89:6; Defendants’ RJN Nos. 1-2. As to Online Guru’s
   2   letter in response to California regarding concurrent reference to California and
   3   DMV on DMV.ORG, Online Guru specifically reserved its rights in this regard, no
   4   agreement was in fact ever reached, and the matter was essentially closed, with no
   5   further contemporaneous communication from the state. TE 385; 11/6 TT 82:8-
   6   83:12.]
   7            91.
   8                                                     [Depo. Moretti, pp. 242:19 to 248:10;
   9   TE 11;136; 342-345; TE 362 (CA DMV Opposition to DMV.ORG trademark,
  10   2007)].
  11   [Disputed on the grounds that Online Guru received three letters from the State of
  12   California in 2004 and then nothing further until California objected to
  13   DMV.ORG’S trademark application in 2007 (after Plaintiffs sent letters to the states
  14   about their lawsuit against DMV.ORG and informing the states of the deadline to
  15   oppose DMV.ORG’s trademark registration). Designated Creditor Depo., 289:18-
  16   291:23; TE 57, 60; 11/7 TT 88:25-89:6. Moreover, the State of California
  17   acknowledged that the term DMV and phrase Department of Motor Vehicles are
  18   generic, as demonstrated by the fact that these terms are disclaimed in the state’s
  19   federal trademark application. Defendants’ RJN No. 8-9.]
  20            92.
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  24   [TE 322, 323, 328, 329, 330, 367, 372, 379, 380; TT 11/6, p. 53:14- 57:14.]
  25   [Disputed on the grounds that (i) the finding improperly dissects DMV.ORG by
  26   focusing on search engine listings rather than considering the website in its entirety
  27   (FTC v. Sterling Drug, Inc., 317 F.2d 669, 674 (2d Cir. 1963) (view the "entire
  28   mosaic" not "each tile separately")); (ii) the volume of the alleged confusion
       4851-6320-8706.1                           -31-
               PLAINTIFFS’ POST TRIAL [PROPOSED] FINDINGS OF FACTS AND CONCLUSIONS OF LAW
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   1   generated by DMV.ORG was de minimus in light of the high traffic on the website
   2   and (iii) Plaintiffs admitted that the website was not actionable until late 2006.
   3   Moretti Trial Decl., ¶ 4; TE 674; Defendants’ RJN Nos. 1-2. Moreover, any alleged
   4   confusion at the search engine result stage is immaterial, as the purchasing decision
   5   is not made at that stage (nor is it even made on DMV.ORG) and consumers are
   6   likely to hunt around on a variety of websites before making a purchasing decision.
   7   Maronick Designated Depo., 217:13-17.]
   8            93.
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  21            94.
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  23
  24                             [11/7 TT, p. 165:2-6.]
  25   [Disputed on the grounds that a handful of consumers allegedly confused by
  26   DMV.ORG is insignificant in light of the million visits that the website receives on a
  27   weekly basis. Moretti Trial Decl., ¶ 4; TE 674. DMV.ORG has always carried
  28   disclaimers on every page of the website and has voluntarily added further
       4851-6320-8706.1                           -32-
               PLAINTIFFS’ POST TRIAL [PROPOSED] FINDINGS OF FACTS AND CONCLUSIONS OF LAW
